                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF IOWA
                              WESTERN DIVISION



 UNITED STATES OF AMERICA,
                Plaintiff,                               No. CR05-4127-MWB
 vs.                                            ORDER ACCEPTING MAGISTRATE
                                                     JUDGE’S REPORT AND
 JAIME BASTIAN,
                                                RECOMMENDATION REGARDING
                Defendant.                        DEFENDANT’S GUILTY PLEA
                                  ____________________

                        I. INTRODUCTION AND BACKGROUND
        On December 14, 2005, a indictment was returned against defendant Jaime Bastian,
charging defendant with: conspiring to distribute 500 grams or more of methamphetamine
within 1000 feet of a playground, in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A),
860(a) and 846; distributing 50 grams or more of methamphetamine, in violation of 21
U.S.C. §§ 841(a)(1) and 841(b)(1)(B); possessing with intent to distribute 50 grams or more
of methamphetamine, in violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(B); and,
possession of a firearm in furtherance of and in relation to a drug trafficking crime, in
violation of 18 U.S.C. § 924(c). On March 29, 2006, defendant appeared before United
States Magistrate Judge Paul A. Zoss and entered a plea of guilty to Counts 1, 2, 3, 4, and
5 of the indictment. On this same date, Judge Zoss filed a Report and Recommendation in
which he recommends that defendant’s guilty plea be accepted. No objections to Judge
Zoss’s Report and Recommendation were filed. The court, therefore, undertakes the
necessary review of Judge Zoss’s recommendation to accept defendant’s plea in this case.


                                      II. ANALYSIS
        Pursuant to statute, this court’s standard of review for a magistrate judge’s Report



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and Recommendation is as follows:
              A judge of the court shall make a de novo determination of
              those portions of the report or specified proposed findings or
              recommendations to which objection is made. A judge of the
              court may accept, reject, or modify, in whole or in part, the
              findings or recommendations made by the magistrate [judge].

28 U.S.C. § 636(b)(1). Similarly, Federal Rule of Civil Procedure 72(b) provides for
review of a magistrate judge’s Report and Recommendation on dispositive motions and
prisoner petitions, where objections are made, as follows:
              The district judge to whom the case is assigned shall make a de
              novo determination upon the record, or after additional
              evidence, of any portion of the magistrate judge’s disposition to
              which specific written objection has been made in accordance
              with this rule. The district judge may accept, reject, or modify
              the recommended decision, receive further evidence, or
              recommit the matter to the magistrate judge with instructions.
FED. R. CIV. P. 72(b).
      In this case, no objections have been filed, and it appears to the court upon review
of Judge Zoss’s findings and conclusions, that there is no ground to reject or modify them.
Therefore, the court accepts Judge Zoss’s Report and Recommendation of March 29, 2006,
and accepts defendant’s plea of guilty in this case to Counts 1, 2, 3, 4 and 5 of the
indictment.
      IT IS SO ORDERED.
      DATED this 17th day of April, 2006.




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